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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                                       Plaintiff,   )    Case No. CR09-289-RSM
                                                      )
10          v.                                        )    DETENTION ORDER
                                                      )
11 AVINDERJIT KAILEY,                                 )
                                                      )
12                                    Defendant.      )

13 Offense charged:

14       Conspiracy to Distribute Cocaine (more than five kilograms).

15 Date of Detention Hearing: March 19, 2010.

16       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which the defendant can meet will reasonably

19 assure the appearance of the defendant as required and the safety of any other person and the

20 community.

21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22       Defendant is charged with conspiring to distribute more than 5 kilograms of cocaine. The

23 government represented that defendant was an organizer in trafficking cocaine from California



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 1 through Washington to Canada. Defendant is a flight risk in light of his ties to India where he

 2 was born. He has been in Canada only since 2002 when he relocated to British Columbia. He

 3 has returned to India four times and traveled there in 2008 and 2009. He has many relatives in

 4 India and his father still owns real estate in India.

 5       It is therefore ORDERED:

 6       (1)        Defendant shall be detained pending trial and committed to the custody of the

 7 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8 from persons awaiting or serving sentences, or being held in custody pending appeal;

 9       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

10 counsel;

11       (3)        On order of a court of the United States or on request of an attorney for the

12 Government, the person in charge of the correctional facility in which Defendant is confined

13 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14 connection with a court proceeding; and

15       (4)        The clerk shall direct copies of this order to counsel for the United States, to

16 counsel for the defendant, to the United States Marshall, and to the United States Pretrial

17 Services Officer.

18       DATED this 19th day of March, 2010.

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21                                                         A
                                                           BRIAN A. TSUCHIDA
22                                                         United States Magistrate Judge

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     DETENTION ORDER - 2
